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                                                                                              June 10, 2014

Paul V. Cassisa, Jr.
Butler Snow LLP
Suite 205
1200 Jefferson Avenue
Oxford, MS 38655

                                           Expert Report of Kathryn F. Anderson
                                           Dean J. Lucas v. General Motors LLC

Dear Mr. Cassisa:


This report contains my assessment of the performance of the restraint systems in the subject vehicle,
occupant kinematics, and the biomechanics of injury associated with Mr. Dean J. Lucas. Mr. Lucas was
the driver of a 2008 GMC Sierra, 2500HD heavy duty, four-wheel-drive crew cab pick-up truck (VIN
1GTHK23688F165652), that was involved in an accident on October 21, 2011.


QUALIFICATIONS
I have a Bachelor of Science degree in Engineering from Purdue University.                                       The focus of my
undergraduate studies was in biomedical engineering through the Interdisciplinary Engineering School at
Purdue University. I also have a Masters of Science degree in Biomedical Engineering (Biomechanics)
from the University of Michigan.


I have been employed by General Motors since 1991, and am currently a Senior Staff Engineer in the
Engineering Analysis group within our Global Vehicle Safety organization.                            In the past, I have been
responsible for the development of front and rear seat occupant protection systems and have conducted
crash and sled tests to assess the performance of these systems. I have also been responsible for the
design release of driver air bags, passenger air bags, and steering wheels. I have knowledge and
experience in the development, testing, and design of the components that comprise a frontal impact
restraint system. I am also familiar with the design, development, and testing of the General Motors
GMT900 truck product line and will testify about this if asked.




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I have also researched motorsports safety technology, various applications of specific occupant protection
features, and the use of anthropomorphic test device measurement equipment. I participate in the Crash
Injury Research and Engineering Network project through the University of Michigan Program for Injury
Research and Education and have been an engineering fellow with the University of Michigan Program
for Injury Research and Education (currently known as the International Center for Automotive Medicine
(ICAM) at the University of Michigan Medical Center). In addition, I have participated in the USCAR
Occupant Safety Research Partnership which included joint research activities with Ford Motor Company
and DaimlerChrysler Corporation.


I have more than twenty-two years of experience in the design and development of automotive crash
protection systems and occupant injury evaluation. My CV provides a more detailed description of my
various current and past job responsibilities, and my publications.

INFORMATION CONSIDERED
I considered the information contained in the following documents in formulating my opinions about the
mechanisms of the injuries sustained by Mr. Dean Lucas in the accident of October 21, 2011:

         Petition for Damages;

         First Supplemental and Amending Petition;

         GM LLC’s Initial Disclosures;

         GM LLC’s Supplemental Initial Disclosures;

         Initial Disclosures on Behalf of Plaintiff, Dean J. Lucas;

         State of Louisiana Uniform Motor Vehicle Traffic Crash Report of the subject incident;

         Color copies of (19) photographs of the subject vehicle, taken October 25, 2011, and provided by
         Louisiana Farm Bureau Insurance;

         Color copies of (18) photographs of the adverse vehicle, Nissan Sentra, taken October 25, 2011,
         and provided by Louisiana Farm Bureau Insurance;

         Documents produced by Bize and Louisiana Farm Bureau;

         Recorded conversation between Alicia Murray and Mr. Dean Lucas, October 25, 2011;

         Recorded conversation between Bryan Morrow and Mr. Derrick Bize, October 28, 2011;



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        Cenla damage appraisals for the subject vehicle, dated October 28, 2011;

        Cenla damage appraisals for the adverse vehicle, dated October 26, 2011;

        Communications with Mr. John Sprague and Mr. Hamed Sadrnia;

        Accident reconstruction of Mr. Hamed Sadrnia;

        Inspection photographs of the accident scene taken by Hamed Sadrnia, March 20, 2014;

        Inspection photographs of the subject vehicle taken by Tony Gennusa, April 17, 2013;

        Photographs of Tech 2 Data obtained from the subject vehicle by Tony Gennusa, April 17, 2013;

        CDR Report for the data obtained from the subject vehicle’s SDM Module on April 17, 2013;

        2007 GMT 911/912 HD Pick-up Frontal Sensing Performance Review report;

        2007 GMT 911/912 Heavy Duty Final Report to the Performance Assessment Committee;

        Occupant Performance Evaluation Consideration Book;

        General Motors barrier crash test, sled test, and lab test documentation, photos, and videos;

        GM VIS Information and vehicle invoice for the subject vehicle;

        2008 GMT900 FMVSS 208, 209 and 210 Compliance Documents;

        Engineering drawings, design information, and product assembly documents;

        2008 GMC Sierra air bag sections of the service manual;

        2008 GMC Sierra Owner’s Manual;

        Deposition Transcript of Dean J. Lucas, dated January 9, 2013;

        Dean J. Lucas’s medical records obtained to date.




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THE INCIDENT
At approximately 10:45 pm on October 21, 2011, Mr. Dean J. Lucas was driving a 2008 GMC Sierra
2500HD heavy duty crew cab pick-up truck and was traveling northbound on LA 1 in Avoyelles,
Louisiana.      As reported in the State of Louisiana Traffic Crash Report, a 2008 Nissan Sentra, driven by
Derrick Bize, turned left out of a car wash parking lot to attempt to go southbound on LA1 (ref. Figure 1 –
Hamed Sadrnia scene photo #luca004hs).




                       Figure 1 – Hamed Sadrnia scene photo #luca004hs (LA 1, view traveling northbound)




Mr. Bize pulled out into the northbound path of Mr. Lucas, and the police diagram of the vehicles at the
point of impact, show Bize’s Sentra was impacted in the left rear quarter by the front left corner of Mr.
Lucas’s pick-up truck (ref. Figure 2 – State of Louisiana traffic crash report diagram).




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                                      Figure 2 – State of Louisiana Traffic Crash Report diagram



REPORTED INJURIES
Mr. Dean Lucas, the driver of the GMC Sierra 2500HD pick-up, reported that he was injured as a result of
this accident event. The police report indicates that Mr. Lucas was wearing his seat belt, was not injured,
and was not transported to a medical facility. Mr. Bize, the driver of the Nissan Sentra, was also noted to
be wearing his seat belt, and was also not injured or transported to a medical facility.


The subject crash occurred on October 21, 2011. Mr. Lucas did not report to a medical facility on the day
of the crash, but visited the office of Dr. Darron McCann four days after the crash event, on October 25,
2011. Consultation notes indicate that he reported to have had a motor vehicle accident on October 21,
2011, was wearing his seat belt, his face hit the steering wheel, his head hit the windshield, there was a
bullseye on the glass, he was initially dazed but not bad, had some pressure pain in his upper front teeth,
and had head pain. He was noted to have a 2 cm knot on his forehead, and a 1 cm abrasion on his right
upper lip.




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Eight days post-crash, on October 29, 2011, Mr. Lucas reported to Rapides Regional Medical Center with
complaints of pain in his mouth, head, neck and back. CT scans of his face, cervical spine and thoracic
spine were conducted. The results of those studies were as follows:


10/29/2011 CT Scan of Facial Bones – There was no evidence of acute fracture. The orbits, nasal
bones, zygomas, mandible, maxilla, medial and left pterygoids are intact. The CT scan revealed evidence
or pre-existing injury and post-surgical changes in the bilateral regions of the frontal skull and both
maxillary regions, that were a result of a previous craniotomy.
10/29/2011 CT Scan of the Upper Thoracic Spine and Lower Cervical Spine – There was no evidence of
acute fracture or dislocation, and no soft tissue abnormalities. The CT scan of the upper thoracic and
lower cervical spines was unremarkable.


Mr. Lucas was 40 years old and approximately 6’0” tall and 175 lbs at the time of the accident (from
10/29/2011 Rapides Regional Medical Center records). Mr. Lucas’s most clinically significant injuries that
appear to be a result of the October 21, 2011 subject crash event, based on review of the documents
above, are:


1)       Head contusion with a 2 cm knot on his head
2)       1 cm abrasion on his right upper lip
3)       Unspecified dental damage to crown on Tooth #8
4)       Cervical and thoracic strain


These reported injuries will be addressed in this report in order to more completely discuss the occupant
kinematics during the October 21, 2011 accident event, as well as his extensive past medical history that
includes prior accidents, surgeries, and complaints of neck and back pain.


BASIS OF OPINIONS
I reviewed the information listed above relative to the subject 2008 GMC Sierra 2500HD heavy duty crew
cab pick-up truck that was involved in an accident on October 21, 2011, in Avoyelles, Louisiana. My
opinions are based on the information contained in the documents previously mentioned, and on my
education, background and experience in automotive occupant protection research and development. I
reserve the right to amend my opinions expressed herein in the event that new information becomes
available to me.



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ANALYSIS AND OPINIONS
I have been informed that Plaintiffs failed to preserve the 2008 GMC Sierra 2500HD heavy duty crew cab
pick-up truck at issue in this case (“subject vehicle”) after the October 21, 2011, accident. Therefore, GM
did not inspect and document the damage to the subject vehicle in its immediate post-collision condition.
I reviewed color copies of (19) photographs of the subject vehicle, and color copies of (18) photographs of
the adverse vehicle, Nissan Sentra, taken October 25, 2011, and provided by Louisiana Farm Bureau
Insurance. I also reviewed (94) photographs of the accident scene taken by Hamed Sadrnia, March 20,
2014. The most significant contact damage to the front of the subject vehicle was primarily concentrated
to the lower left front corner of the 2500HD heavy duty crew cab pick-up truck, and involved the far left
side of the front bumper and the left front wheel and suspension (ref. Figure 3 – Lower Left Corner of
GMC Sierra (LFB Photos), and Figure 4 – Left Front Suspension of GMC Sierra (LFB Photos). The truck
had a brush guard mounted to the front of the vehicle. The truck had also been modified, or “lifted,” and
equipped with high profile wheels and tires which created a higher ride height (ref. Figures 5 - Right Front
of Subject GMC Sierra from Louisiana Farm Bureau (LFB) Photos.




  Figure 3 – Lower Left Corner of GMC Sierra (LFB Photos)              Figure 4 –Left Front Suspension of GMC Sierra (LFB Photos)




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                      Figure 5 - Right Front of Subject GMC Sierra from Louisiana Farm Bureau (LFB) Photos



A review of the photographs of the overall exterior damage of the subject vehicle, provided by Louisiana
Farm Bureau, show the subject crash resulted in very narrow, localized side-swipe type damage to the
front left side corner of the truck (scrapes on the lower bumper cover). The truck’s aftermarket high
profile wheels and tires were mounted so they extended outside the body’s fenders, so the left front
wheel also showed evidence of contact damage (wheel was detached from the left front suspension in
the LFB photos). This damage is consistent with the description of the subject incident. There was no
apparent deformation of the front brush guard, front bumper system, grille, hood, or right front headlamp.
Consistent with Mr. Hamed Sadrnia’s reconstruction of the accident, it is also my opinion that the exterior
damage to the front of the subject vehicle, GMC Sierra 2500HD pick-up, is not consistent with the type of
frontal damage that would be induced by longitudinal loading of the front structure in a crash that would
be above the frontal air bag deployment threshold.                          The subject vehicle was not preserved in its
immediate post-crash condition, so there were no exterior vehicle components, interior vehicle
components, seat belts or sensing and diagnostic module (SDM) available for physical inspection.


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Figure 6 shows the damage to the left rear area on the adverse vehicle, Nissan Sentra, where the front
left corner of the GMC Sierra made contact.




                     Figure 6 – Left Rear of Adverse Nissan Sentra from Louisiana Farm Bureau (LFB) Photos

My review and analysis of the information pertaining to the October 21, 2011, incident indicates the
subject vehicle did not experience a frontal or near frontal impact that was sufficient enough to warrant
the deployment of the air bags. It is my understanding that Mr. Hamed Sadrnia estimated the change in
velocity experienced by the subject vehicle as a result of the impact with the rear of the Nissan was
approximately 2-10 mph. The narrow side-swipe type crash, involving an impact of the left wheel of the
subject vehicle to the left rear side of the Nissan, did not generate a level of longitudinal deceleration
significant enough to be detected as the beginning of a deployment level crash event. Based on a review
of all of the available information contained in the documents listed above, it is evident that the October
21, 2011, impact to the subject vehicle, GMC Sierra 2500HD crew cab pick-up, would not have been the
type of crash event where the frontal air bags would have been expected to deploy. The subject vehicle
did not experience a large enough change in longitudinal velocity in a short enough period of time to
warrant deployment of the frontal air bags for supplemental protection.


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Mr. Lucas’s truck was a 2500HD heavy duty crew cab, four-wheel-drive pick-up with a Gross Vehicle
Weight Rating (GVWR) of 9200 lbs (as indicated on the New Vehicle Invoice).                                      His truck was
manufactured on November 19, 2007 at the Moraine, Ohio assembly plant. Federal Motor Vehicle Safety
Standard (FMVSS) No. 208, Occupant Crash Protection, as specified in part 571.208, 49 CFR Ch. V (8-
31-06 Edition), requires by law that trucks, buses, and multipurpose passenger vehicles with a GVWR of
8,500 lbs. or less (Ref. S4.2.6.3), and certified to S14, shall meet the applicable frontal crash protection
requirements of S5.1.2(b) by means of an inflatable restraint system at the driver’s and right front
passenger’s position that requires no action by vehicle occupants.                            Even though, the GMT911 and
GMT912 20-series and 30-series heavy duty pick-up trucks are rated at GVWs greater than 8500 lbs.,
and are not required by law to have frontal air bags, General Motors Corporation designed, developed,
and installed frontal air bags at the driver’s and right front passenger’s positions as standard equipment in
these heavy duty pick-ups (ref. 2007 GMT 911/912 Heavy Duty Final Report to the Performance
Assessment Committee and the 2007 GMT 911/912 HD Pick-up Frontal Sensing Performance Review
report). The frontal air bag system in the GMT900 heavy duty pick-ups was developed using the same
considerations and priorities as the GMT900 light duty pick-ups and sport utility vehicles, but because the
passive requirements of FMVSS 208 do not apply to the heavy duty pick-ups, General Motors
Corporation’s first priority in developing the heavy duty systems was to “implement restraint systems that
do not inflict serious injury,” or in other words, “do no harm” (ref. General Motors’ Occupant Performance
Evaluation Consideration Book).


The air bag is designed to provide supplemental protection in certain moderate to severe frontal or near
frontal collisions.       The seat belt functions to provide the primary restraint in frontal impacts of all
severities. This is especially the case in lower speed impacts, like Mr. Lucas’s crash event, where the air
bag system is not designed to deploy. Documents provided by Louisiana Farm Bureau Insurance contain
a recorded conversation between Mr. Lucas and Alicia Murray on October 25, 2011, four days after the
subject crash. When questioned about whether he was injured as a result of the crash, Mr. Lucas stated
the following with regards to his body position at the time of impact:


Question by Alicia Murray: Okay and um, you were injured at the scene of the accident?




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Answer by Mr. Dean Lucas: Yes ma'am. It like um, when I was leaving - I was driving with my arms on the
steering wheel, like lean forward so when I grabbed the, held on to the wheel and got on the brakes, it was like
already leaned up almost against the wheel. Thank God because I probably would have maybe slammed
harder, I don't know. But my face hit the top of my steering wheel and my head hit on the top of it. Like head
butted me you know. On the steering wheel. And um, I've had a surgery not long ago for my jaw so it broke my
teeth. Um, my front teeth. It broke the, center of my teeth. But I went yesterday and to the dentist and he kinda
fixed it up for now. That's why I'm talking a little funny if you can't.
Question by Alicia Murray: Okay.
Answer by Mr. Dean Lucas: You can hear like a little lisp.
Question by Alicia Murray: Okay. Were you taken from the scene by ambulance?
Answer by Mr. Dean Lucas: I did not go in the ambulance, no ma'am. Um, I uh, I didn't see no need. I didn't
think it was that bad at first so.
Question by Alicia Murray: Okay, so you sought medical treatment um the same day or the next day?
Answer by Mr. Dean Lucas: Actually I called to go yesterday and I cannot get an open, I want them to check
my, my top of my head. I've had a cranium where they've removed my skull.
Question by Alicia Murray: Yes.
Answer by Mr. Dean Lucas: And these plates so it smashed that a little. I just want to make sure it didn't tear
those screws, cause it got a pretty good knot on top of my head where it, kind of cut open a little bit um.


Mr. Lucas described being very close to the steering wheel at the time of the impact since he was
anticipating a potential collision, “I . . . held on to the wheel and got on the brakes, it was like already leaned
up almost against the wheel.” In the position he described, Mr. Lucas would have been very close to the air
bag, had it deployed in the subject crash, and would have been significantly more at risk of sustaining
injuries from the inflating air bag.


Mr. Lucas was 40 years old and approximately 6’0” tall and 175 lbs at the time of the accident (from
10/29/2011 Rapides Regional Medical Center records).                         The police report indicated that he was not
injured, and did not require transportation to a medical facility. As described previously in the “Reported
Injuries” section of this report, Mr. Lucas visited Dr. Darron McCann four days after the crash with
complaints of pressure pain in his front teeth and head pain. He noted to have a 2 cm knot on his
forehead, and a 1 cm abrasion on his right upper lip. Eight days after the crash event, Mr. Lucas walked
in to the Rapides Regional Medical Center with complaints of pain in his mouth, head, neck and back. CT
scans of his face, cervical spine and thoracic spine were conducted, and all studies were unremarkable


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with no evidence of acute fracture, dislocation, or soft tissue abnormalities. He was diagnosed with
cervical and thoracic strain. The CT scans did reveal evidence or pre-existing injury and post-surgical
changes in the bilateral regions of the frontal skull and both maxillary regions, which were a result of a
previous craniotomy.


Medical records from Rapides Regional Medical Center, Alexandria Neurosurgical Clinic, Avoyelles Open
MRI, Dr. Darron McCann, and Dr. Jacob Gauthier all reference Mr. Lucas’s extensive past medical history
(occurring prior to the October 2011 subject crash) that includes reports of lower back pain beginning in
June 2007, a previous motor vehicle accident in March of 2008, lower back surgery in August 2008 due to
a compression fracture at L2 and lumbar disc protrusion at L5-S1, severe and constant headaches in
August 2009 and June 2010. A more detailed chronology of his medical history includes:


6/11/2007 – Rapides Regional Medical Center
         Complaint of low back pain when picking up (or riding?) a 4-wheeler on Saturday. No past
         medical history reported at this time. 6/11/07 L-Spine X-ray results - No fracture identified,
         alignment of lumber spine is good, disc space appearance is normal.
3/7/2008 - Avoyelles Hospital Open MRI (previous motor vehicle accident 3/7/2008)
         CT Brain - slightly depressed acute fracture in the left frontal/supraorbital region with associated
         underlying subdural hematoma measuring 2 cm X 5 mm with a small amount of pneumocephalus
         in the area.
         CT Cervical spine, Lumbar spine, Chest, Pelvis – normal C-spine, chest, and pelvis, mild acute
         compression fracture of L2, no CT evidence of traumatic injury to the solid intra-abdominal organs
3/17/2008 - Dr. Jacob Gauthier, D.D.S. (after previous motor vehicle accident 3/7/2008)
         Dental Exam – Patient has history of an MVA, ‘ejected from vehicle’ trauma to forehead, broken
         nose, maxilla, broken ribs and vertebrae. Occl. Adj. made and smoothed fractured teeth #14 and
         15. Recommended complete exam when swelling decreases
4/21/2008 – Office visit to Alexandria Neurosurgical Clinic
         Consultation notes - MVA on 3/7/2008, treated at LSU Med Center and had bi-frontal craniotomy
         with fixation of frontal skull fractures and exoneration of frontal sinuses, repair of maxilla fractures.
         Also noted to have C-spine and L-spine (compression fx involving superior endplate w/ 25%
         reduction of vertebral body height) fractures that did not require surgery.




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7/16/2008 – Office visit to Alexandria Neurosurgical Clinic
         Consultation notes - mild compression fracture of C6, compression fracture of L2, and disc
         protrusion L5-S1.
7/18/2008 - Alexandria Neurosurgical Clinic
         MRI Cervical Spine – Mild disc bulge C4-C5, C5-C6 and C6-C7 with no significant cervical spine
         canal stenosis. Compression fracture of L2 vertebra, disc protrusion at L5-S1, right lower
         extremity radiculopathy.
         Made a recommendation for surgical discectomy at right L5-S1 vertebral segment due to right
         canal and foraminal protrusion and impingement at L5-S1 level, and he has had no successful
         improvement with convalescence and spinal injection.
8/1/2008 – Office visit to Alexandria Neurosurgical Clinic
         Consultation notes – Upper extremity numbness when extends his hands, still reports severe back
         and right leg pain.
8/7/2008 – Rapides Regional Medical Center
         Lumbar Discectomy Surgery (single day, outpatient surgery) due to displacement of lumbar
         intervertebral disc without myelopathy
8/9/2008 – Rapides Regional Medical Center
         MRI Lumbar Spine MRI – Status post lumbar discectomy with progressive inflammatory type
         radiculopathy. Right-sided surgical changes at L5-S1 disc level, with residual pericentral disc
         protrusion resulting in stenosis of right L5-S1 neural foramen. Old compression deformity of L2
         vertebral body with herniation of L1/L2 disc into the collapsed/compressed superior L2 end plate.
8/15/2009 - Rapides Regional Medical Center
         Complaint of constant headache for 6 weeks. Has past history of craniotomy.
         CT of Brain – Post-op calvarial changes from history of prior surgery as well as facial bone
         changes. Includes abnormality of frontal bone with abnormal configuration of the expected region
         of the frontal sinus and frontal bone, likely due to post-op changes. Otherwise, no intracranial
         findings.
         Diagnosis – sinusitis, headache




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6/14/2010 – Rapides Regional Medical Center
         Severe Headache in right frontal region (over right eye for 2 days), previous history of MVA with
         prior surgery. Past history of neuro surgery, chronic, frequent headaches.
         CT of Brain – Post-op calvarial changes from history of prior surgery includes abnormality of
         frontal sinus and frontal bone region. Otherwise, no evidence of acute calvarial fracture and no
         acute intracranial findings.
         Diagnosis – sinusitis, headache
8/2/2011 - Alexandria Neurosurgical Clinic (Approximately three months before subject incident)
         Clinic Report - interval worsening of neck and right upper extremity pain, extends to right hand.
         Still has back and LE pain but this is less severe.
10/25/2011 - Dr. Darron McCann (after subject motor vehicle accident on 10/21/2011)
         Office visit consultation notes - States belted, face hit steering wheel, head hit windshield, (+)
         bullseye on glass. Broke teeth, knot on head. Initially dazed but not bad, (+) nausea, (-) vomiting,
         head pain. 2 cm knot on head, oral 1 cm abrasion to right upper lip and frontal upper gums.
10/25/2011 - Dr. Jacob Gauthier, D.D.S. (after subject motor vehicle accident on 10/21/2011)
         A Statement of Services Rendered (with billing date listed as 10/25/2011) lists Dean Lucas had a
         Limited Oral Evaluation and Tooth 8 Crown Buildup. The Dental Treatment history notes indicate
         Tooth 8 had work done on 10/24/2010, but no specific treatment is noted in October 2011.
10/29/2011 - Rapides Regional Medical Center (after subject motor vehicle accident on 10/21/2011)
         Complaints of motor vehicle accident, pain in mouth and head. Arrived by “walk in” and
         complained of neck pain. Noted lower C-spine or upper thoracic (pain), face/neck/back pain. Past
         history includes “previous injury to neck & face with surgery.”
         Diagnosis = contusion and cervical/thoracic strain (maxillofacial CT showed no acute changes, c-
         spine and t-spine CTs were negative).
11/29/2011 - Alexandria Neurosurgical Clinic (Approximately one month after subject incident)
         Clinic Report – Seen for chronic neck and back pain and radiculopathies. Patient was involved in
         MVA where he reportedly struck his head on windshield and fractured his tooth, was not evaluated
         in ER, later seen by primary care physician who ordered images but these were never completed.
         Recently, patient fell from approximately 14 feet while working at home and sustained bilateral
         upper extremity fractures of left wrist and right elbow (requiring surgery) and a fracture of a lumbar
         spine transverse process (not requiring surgery).




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Mr. Lucas had an extensive past medical history, but the injuries that appear to be directly attributable to
the October 21, 2011, subject crash include a head contusion, an upper lip abrasion, cervical and thoracic
strain, and unspecified damage to a crown on his #8 front tooth. I have been informed that the subject
vehicle was repaired after the subject crash, so I did not have the opportunity to visually inspect the
vehicle’s interior in its post-collision condition for evidence of blunt impact or occupant contact marks.


Although a frontal air bag may be designed to reduce the risk of injury to the occupant due to contact with
the vehicle’s interior, a frontal air bag is not designed to deploy in lower speed accidents or higher speed
accidents of long duration. Frontal air bag deployment decisions are based on how quickly the vehicle
slows down during the crash event, in other words the change in longitudinal velocity over time. Air bags
are not designed to deploy in some accidents of long duration, where occupants may be at risk of being
out-of-position by the time the sensing system detects a crash and deploys the air bags, exposing that
occupant to an increased risk of inflation induced injury.                       The frontal impact threshold for air bag
deployment is specifically set at a level where the risk of exposing a potentially out-of-position occupant to
an inflation induced injury is balanced against the benefits of providing supplemental protection against
significant and life-threatening injuries.             The Performance Assessment Committee (PAC) Report and
GM’s Occupant Evaluation Consideration Book document the considerations addressed in balancing the
performance of the restraint system in the GMT911/912 heavy duty pick-up trucks. Mr. Lucas reports to
have been leaning forward at the time of the crash, almost against the steering wheel, which would place
his head and chest in close proximity to the driver air bag module at the time of the crash. In that type of
situation, deployment of the driver air bag could have caused more significant injuries than those
sustained by Mr. Lucas in the subject crash.


CONCLUSIONS
Based on a review of the information contained in the documents listed above, and based upon my
research and engineering experience in designing airbag systems, evaluating occupant protection
systems, and analyzing field performance, it is my opinion, based on a reasonable degree of scientific
certainty, that:


    The subject vehicle, 2008 GMC Sierra 2500HD heavy duty crew cab pick-up truck, did not experience
    a sufficient level of longitudinal deceleration to result in an above threshold, deployment level frontal
    impact.


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    Mr. Lucas sustained minor injuries as a result of the crash event on October 21, 2011, which included
    a head contusion, an upper lip abrasion, cervical and thoracic strain, and unspecified damage to a
    crown on his #8 front tooth.


    Frontal air bags are not designed to deploy to mitigate the type of injuries Mr. Lucas sustained in this
    crash. The frontal air bags are designed to deploy during those crashes where the occupant is likely
    to be at risk of sustaining life-threatening head and chest injuries, or other similarly significant injuries.


    The injuries that Mr. Lucas sustained were not life-threatening, were a direct result of the crash
    circumstances, and were not caused because of a defect in the frontal air bag system.


    The severity of the injuries that Mr. Lucas sustained in this crash would likely not have been reduced if
    the driver’s frontal air bag had deployed in the crash at issue and, due to his position close to the
    steering wheel at the time of the crash, may have been worse if the driver’s frontal air bag had
    deployed.


    The development and design of the frontal air bag system in the 2008 GMC Sierra 2500HD heavy
    duty crew cab pick-up truck is reasonably safe and is not unreasonably dangerous.

In addition, I may offer historical information about the design and development of General Motors
vehicles in general, and of the 2008 GMT900 heavy duty pick-up truck in particular.                              This type of
information is described in the final report to the Performance Assessment Committee and the Occupant
Evaluation Consideration Book.


EXHIBITS
At trial, I may use any of the materials that I identified as information that I reviewed as exhibits to help
explain my opinions.


COMPENSATION
I am a salaried employee of General Motors LLC and receive no additional compensation for my work on
this case.




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PRIOR TESTIMONY
A list is attached of all other cases in which, during the previous four years, I testified as an expert at trial
or by depositions.


My opinions are based on my education, my automotive industry experience as an occupant protection
system development/design engineer and researcher for over 22 years, and my review of the general
information outlined above. I reserve the right to amend my opinions and supplement my report should
additional information become available to me and/or plaintiffs produce expert reports.




Kathryn F. Anderson
Engineering Analysis
Global Vehicle Safety
General Motors




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                    LIST OF TRIAL TESTIMONY AND DEPOSITIONS IN PAST FOUR YEARS
                                                       Kathryn F. Anderson


Deposition – January 20, 2010; Duckworth v. GM
Deposition – March 1, 2011; Sherry v. GM Daewoo Auto & Technology
Deposition – November 18, 2011; Sherry v. GM Daewoo Auto & Technology
Deposition – May 18, 2012; Granite State Ins. Co. and Federal Ins. Co. v. General Motors LLC
Deposition – August 16, 2013; Melton v. General Motors LLC




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